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 8                       UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
10   MELISSA ANTABLIN,                     Case No. 2:18-cv-09474-MCS-AS
11
                      Plaintiff,           JUDGMENT
12
13               v.
14
     MOTION PICTURE COSTUMERS,
15   LOCAL #705, INTERNATIONAL
     ALLIANCE OF THEATRICAL
16
     STAGE EMPLOYEES AND
17   MOTION PICTURE TECHNICIANS,
     ARTISTS AND ALLIED CRAFTS,
18
19                    Defendant.
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 1         Pursuant to the Court’s Order Re: Pending Motions, it is ORDERED,
 2   ADJUDGED, AND DECREED that judgment be entered in favor of Defendant Motion
 3   Picture Costumers, Local #705, International Alliance of Theatrical Stage Employees
 4   and Motion Picture Technicians, Artists and Allied Crafts, and against Plaintiff Melissa
 5   Antablin. The action is dismissed with prejudice as to Plaintiff’s retaliation and breach
 6   of duty of fair representation claims and without prejudice as to her inspection claims.
 7   Plaintiff shall take nothing.
 8
 9   IT IS SO ORDERED.
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11    Dated: November 15, 2021
12                                                  MARK C. SCARSI
                                                    UNITED STATES DISTRICT JUDGE
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